         Case 1:19-cv-04316-MLB Document 70 Filed 06/10/22 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA and
THE STATE OF GEORGIA, ex rel.
BETTY RINER,
     Plaintiff-Relator,                      Civil Action File No.:
v.
                                             1:19-cv-04316-MLB
COMMUNITY PRIMARY CARE OF
GEORGIA, LLC (a/k/a Ga MedGroup),
     Defendant.


 Order Granting Consent Motion to Extend the Briefing Schedule Regarding
                  Relator’s Second Amended Complaint

       Upon consideration of Defendant Community Primary Care of Georgia,

LLC’s (“CPC”) Consent Motion to Extend the Briefing Schedule Regarding Relator’s

Second Amended Complaint and the entire record herein, it is hereby:

       ORDERED, that the Defendant’s Motion is GRANTED; and it is

       FURTHER ORDERED that the Defendant’s response to Plaintiff’s Second

Amended Complaint shall be due by July 6, 2022, and Plaintiff’s response thereto

shall be due by August 3, 2022.

       SO ORDERED this 10th day of June, 2022.




                                        (1
                                        1
                                     MICH"K E L L. B R O W N
